Case 2:05-cr-00180-LRS   ECF No. 602   filed 07/08/08   PageID.6801 Page 1 of 7
Case 2:05-cr-00180-LRS   ECF No. 602   filed 07/08/08   PageID.6802 Page 2 of 7
Case 2:05-cr-00180-LRS   ECF No. 602   filed 07/08/08   PageID.6803 Page 3 of 7
Case 2:05-cr-00180-LRS   ECF No. 602   filed 07/08/08   PageID.6804 Page 4 of 7
Case 2:05-cr-00180-LRS   ECF No. 602   filed 07/08/08   PageID.6805 Page 5 of 7
Case 2:05-cr-00180-LRS   ECF No. 602   filed 07/08/08   PageID.6806 Page 6 of 7
Case 2:05-cr-00180-LRS   ECF No. 602   filed 07/08/08   PageID.6807 Page 7 of 7
